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 7

 8                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                      SAN FRANCISCO DIVISION
10

11    UNITED STATES OF AMERICA,                            Case No. CR 19-00040-WHO-2
12                    Plaintiff,
13                                                         STIPULATION AND [PROPOSED]
      v.                                                   ORDER FOR TRAVEL
14
      MATTHEW DITMAN,
15
                      Defendants.
16

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18          On February 6, 2019, defendant Matthew Ditman was released from custody on a personal

19 recognizance bond. As a condition of release, he was ordered not to travel outside of the Northern

20 District of California and District of Nevada (where he resides).

21          Mr. Ditman would like to fly to Illinois to spend time with his parents for the holidays. The

22 parties therefore stipulate Mr. Ditman should be allowed to leave the District of Nevada to travel to

23 Illinois from December 24, 2021, to December 31, 2021. All other conditions of release shall remain the

24 same.

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     STIP & [PROPOSED] ORDER FOR TRAVEL              1
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 2          SO STIPULATED.

 3
                                                           ______            /s/ ________________________
 4 Dated: September 16, 2021                                       ROBERT LEACH
                                                                   Assistant U.S. Attorney
 5

 6                                                         ______           /s/ ________________________
     Dated: September 16, 2021                                   ANGELA CHUANG
 7                                                                Attorney for Matthew Ditman
 8

 9                                                    ORDER

10          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that defendant Matthew Ditman

11 shall be allowed to leave the District of Nevada on December 24, 2021, for purposes of traveling to the

12 District of Illinois to stay with his parents. He shall provide his itinerary to Pretrial Services. He must

13 return to the District of Nevada by December 31, 2021. All other conditions of release shall remain the

14 same.

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16          IT IS SO ORDERED.

17
      September 16, 2021                                   _____________________________
18 Date                                                    LAUREL BEELER
19                                                         United States Magistrate Judge

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     STIP & [PROPOSED] ORDER FOR TRAVEL               2
